                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                       WESTERN DIVISION
                                 Civil Action No.: 5:18-cv-197-BO

                                                     )
EPIC GAMES, INC.,                                    )
                                                     )
                  Plaintiff,                         )
                                                     )
                                                          FINAL JUDGMENT AND PERMANENT
v.                                                   )
                                                              INJUNCTION ON CONSENT
                                                     )
THOMAS HANNAH,                                       )
                                                     )
                  Defendant.                         )
~~~~~~~~~~-)

       Plaintiff Epic Games, Inc. ("Plaintiff' or "Epic") and Defendant Thomas Hannah

("Defendant" or "Hannah") (together, the "Parties") have reached an agreement to settle the

dispute between them, including without limitation, the above-captioned action, and have

consented to the entry of this Final Judgment and Permanent Injunction on Consent (the

"Consent Judgment") based on the following stipulated findings of fact and conclusions of law,

which the Court hereby adopts for purposes of entry of this Consent Judgment.

                      FINDINGS OF FACT AND CONCLUSIONS OF LAW

       1.         This Court has proper jurisdiction over the subject matter in this litigation under

28 U.S.C. §§ 1331and1367(a), and 18 U.S.C. 1832, et. seq. (DE 1,         Complaint~   13, DE 11,

Answer~     13)

       2.         This Court has personal jurisdiction over Defendant because Defendant consented

to jurisdiction in this District and because Defendant resides in this District and has purposefully

availed himself of the privileges of conducting activities and doing business in the State of North
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Carolina and in this District, by living and working here, thus invoking the benefits and

protections of North Carolina's laws. This Court shall retain jurisdiction over Defendant for the




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purpose of implementing and enforcing this Consent Order. (DE 1,      Complaint~    14, DE 11,

Answer~     14)

       3.         Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) because this is a

District in which a substantial part of the events giving rise to Plaintiffs claims occurred, in

which Defendant currently resides, and where he committed acts of trade secret misappropriation

and breached his contract, which was entered into in this District and is governed by North

Carolina law. (DE 1,    Complaint~   15, DE 11, Answer~ 15)

       4.         Epic, a Maryland corporation with its principal place of business in Wake County,

North Carolina, is the creator of Fortnite®, a co-op survival and building action game. Epic is the

owner of all the intellectual property related to Fortnite, including, without limitation, the trade

secrets described below. (DE 1,    Complaint~~   16-17, 23, DE 11, Answer~~ 16-17, 23)

       5.         Fortnite was broadly- released on July 25, 2017. Fortnite's free-to-play "Battle

Royale" game mode was released on September 26, 2017. Since that time, Fortnite has become

extremely popular in the United States and across the globe. With over 125 million users, it is

Epic's most successful game yet. (DE 1,     Complaint~   18, 19)

       6.         The widespread enthusiasm Fortnite enjoys is due in part to the goodwill and

reputation for quality that Epic built up in and around the game. An important part of this work,

and of Fortnite's dramatic success, is the unexpected changes and surprises Fortnite's fans

experience as the game, its story, and its environment continually evolve. This, along with the

regular introduction of new content, including, without limitation, planned events, playing

formats, themes, narratives, storylines, plot twists and developments, characters, player

capabilities, "emotes" (i.e., dances or gestures a player's avatar can perform), cosmetics (e.g.,

outfits or "skins" for player avatars), weapons, "Easter eggs," changes to the Fortnite map and

environment, and other secrets and surprises have kept Fortnite's tens of millions of registered

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users excited about, and engaged with, the game while its fan base has continued to expand. (DE

1,   Complaint~~   21-22)

         7.       Epic is the owner of all rights, title and interest in and to the F ortnite-related trade

secrets at issue in this case, including, without limitation, proprietary and confidential business

and technical information concerning planned events, playing formats, themes, narratives,

storylines, plot twists and developments, characters, player capabilities, "emotes" (i.e., dances or

gestures a player's avatar can perform), cosmetics (e.g., outfits or "skins" for player avatars),

weapons, "Easter eggs," changes to the Fortnite map and environment, and other secrets and

surprises (collectively, "Epic Trade Secrets" or "Epic's Trade Secrets"). (DE 1,         Complaint~    23,

DE 11, Answer~ 23)

         8.       Epic has invested considerable time, effort, and financial resources to develop and

protect Epic's Trade Secrets, and Epic's Trade Secrets derive independent economic value,

actual or potential, from not being generally known to, and not being readily ascertainable

through proper means by, another person who could obtain economic value from the disclosure

or use of Epic's Trade Secrets. (DE 1,     Complaint~     24)

        9.        At all relevant times, Epic has taken reasonable measures to keep Epic's Trade

Secrets secret by, including, without limitation: (i) maintaining them in secure working spaces;

(ii) requiring a fully executed NDA for every person who might have access to Epic's Trade

Secrets; (iii) limiting access to Epic's Trade Secrets to only those who are working on Fortnite or

are part of senior management; and (iv) requiring (a) an assigned Epic user name, (b) password

(with leading-edge industry standards for password requirements), and (c) multifactor
                                                     ,~




authentication to access the computer system' in which Epic's Trade Secret-related files are

stored and/or live-streamed meetings during which Epic's Trade Secrets might be discussed or

disclosed. (DE 1,   Complaint~    26, DE 11, Answer~ 26)

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       10.     Defendant, an individual, is a resident and citizen of North Carolina. (DE 1,

Complaint~    12, DE 11, Answer~ 12)

        11.    Defendant was a contractor hired to work at Epic by Volt Workforce Solutions, a

company that facilitates contingent staffing. (DE 1,   Complaint~   27, DE 11, Answer~ 27)

       12.     Defendant began his engagement at Epic on December 4, 2017 as a quality

assurance tester for Fortnite. He was permitted access to not-yet-released versions of the game in

order to generate bug reports, build stability report_s, and generate feedback and data for Epic's

Fortnite developers. (DE 1,   Complaint~   28, DE 11, Answer~ 28)

       13.     Defendant entered into a Temporary Personnel Nondisclqsure
                                                                 ,,
                                                                          Agreement dated

November 27, 2017 (the "NDA"), in which Defendant acknowledged that during his time at Epic

he might "learn certain information about Epic and its business," which information Epic desired

to protect. (DE 1,   Complaint~   30, DE 11, Answer~ 30)

       14.     Under the NDA, Defendant agreed that Epic would provide him with "certain

information that is confidential, proprietary, and not generally available to the public

("Confidential Information"), and agreed that this "Confidential Information provided by Epic

was developed through substantial expenditures of time, effort, and money and constitutes

valuable and unique property of Epic." (DE 1, Complaint~ 31, DE 11, Answer~ 31) ·

       15.     Defendant further agreed to: "keep in strict confidence and ... not directly or

indirectly disclose, furnish, disseminate, make available, or, except in the course of [his work at

Epic], use any Confidential Information." (DE 1,     Complaint~   32, DE 11, Answer~ 32)

       16.     The NDA is a valid and binding agreement between Epic and Defendant and was

supported by adequate consideration. (DE 1, Complaint~ 36, DE 11, Answer~ 36)

       17.     During his employment, Defendant attended Fortnite team meetings. On March

16, 2018, Defendant attended a livestream of a Fortnite team meeting concerning the

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development of upcoming seasons of Fortnite. The meeting took place at Epic's main building in

Cary and was livestreamed on a secure streaming channel to external offices, including the office

where Defendant worked. (DE 1, Complaint if 50, DE 11, Answer if 50)

         18.    Meeting participants were given a specific link and also required to login using

their Epic usemame and password as well as use multi-factor authentication. Invitations to this

meeting (and others like it) were sent only to the Fortnite team- not to general Epic personnel.

(DE 1, Complaint if 51, DE 11, Answer if 51)

         19.    Certain of Epic's Trade Secrets were discussed during the March 16, 2018

meeting and Defendant had access to them as a result. (DE 1, Complaint if 52, DE 11, Answer

ir 52)
         20.    Defendant resigned from Epic on April 4, 2018. (DE 1, Complaint if 53, DE 11,

Answer if 53)

         21.    On April 24, 2018, a Reddit user named "intemetadam" posted a message entitled

"SPOILERS for Season 4 Battle Pass & Meteor" on a publicly available website. (DE 1,

Complaint if 54, DE 11, Answer if 54)

         22.    "intemetadam" is Adam DiMarco. (DE 1, Complaint if 55, DE 11, Answer if 55)

         23.    In the April 24, 2018 post in which he disclosed certain of Epic's Trade Secrets,

DiMarco mentioned a source who "refused to          pe   named." (DE 1, Complaint   if 57, DE 11,
Answer if 57)

         24.    The source DiMarco referred to in the April 24, 2018 post was Defendant. (DE 1,

Complaint if 58, DE 11, Answer if 58)

         25.    Epic did not authorize Defendant to disclose any of Epic's Trade Secrets to

DiMarco. (DE 1, Complaint if 80, DE 11, Answer if 80)



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        26.    Defendant disclosed some of Epic's Trade Secrets to DiMarco, who published

them online, ending the suspense and spoiling surprises that had been planned for months by

Epic's Fortnite team in the run up to Season 4. (DE 1, Complaint lj[ 80, DE 11, Answer lj[ 80)

        27.    Defendant's disclosure of Epic's Trade Secrets and Confidential Information (as

that term is defined in his NDA) constitutes misappropriation of trade secrets in violation of both

the North Carolina Trade Secrets Protection Act, N.G.G.S. § 66-152, et seq. ("NCTSPA"); and

the Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq .. ("DTSA"), violates the terms of the

NDA, and is the result of a civil conspiracy in violation of common law.

        28.    Defendant's violations of the NCTSPA and DTSA, and North Carolina law have

caused, and continue to cause, Epic great and irreparable injury that cannot be fully compensated

or measured in money. Epic has no adequate remedy at law for Defendant's wrongful conduct

because Epic's Trade Secrets are unique and valuable property that have no readily determinable

market value and Defendant's misappropriation constitutes an interference with Epic's goodwill

and customer relations .. Accordingly, the Parties consent to the below Permanent Injunction and

enter into this Consent Judgment voluntarily after consulting with counsel and waive any rights

to appeal from it.

       It is hereby ORDERED, ADJUDGED, and DECREED that:

       29.     De(endant, Thomas Hannah, along with his agents, representatives, partners, joint

venturers, servants, employees, and all those persons or entities acting in concert or

participations with him will immediately destroy all copies of any of Epic's Trade Secrets and

Confidential Information in his possession, custody, or control, and is PERMANENTLY

ENJOINED and RESTRAINED from revealing any of Epic's Trade Secrets and Confidential

Information.



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           For the purposes of this paragraph 29 only, the term "Epic" includes all of Epic's

subsidiaries and affiliated companies.

           30.   No bond or posting of security is required of the Parties in connection with the

entry of this Consent Judgment.

           31.   Plaintiff and Defendant acknowledge that they have knowingly and voluntarily

entered into this Consent Judgment after reviewing the same with their counsel or having had

ample opportunity to consult with counsel. Plaintiff and Defendant understand the undertakings,

obligations, and terms of this Consent Judgment.

           32.   Except as to Defendant's obligations set forth in this Consent Judgment,

Plaintiffs claims against Defendant in this Action, and any claims that could have been asserted

in this Action, are hereby dismissed with prejudice.

           33.   This Consent Judgment is final and Plaintiff and Defendant each hereby waive

their rights to appeal from this order.

           34.   Nothing in this Consent Judgment precludes Plaintiff or Defendant from asserting

any claims or rights that arise after Defendant's agreement to this Consent Judgment or that are

based upon any breach of, or the inaccuracy of, any representation or warranty made by

Defendant or Plaintiff in this Consent Judgment, or in the Settlement Agreement reached by the

Parties.

           35.   Nothing in this Consent Judgment precludes Plaintiff or Defendant from asserting

any claims or rights against any third party.

           36.   Defendant waives any objection under Federal Rule of Civil Procedure 65(d)

(pertaining to injunctions) to paragraph 29, above.

           37.   This Court shall retain jurisdiction over this matter to enforce a violation of this

Consent Judgment's terms. If any such violation occurs, the Court shall award, (a) without

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regard to proof of actual damages, liquidated damages of Five Thousand Dollars ($5,000); as

well as (b) injunctive relief enjoining any further breach of this Consent Judgment, or such

modifications to the present Consent Judgment as the Court deems appropriate; (c) attorneys'

fees, costs and disbursements, as determined by the Court; and (d) such other relief as the Court

deems just and proper.




                                                                       w. /J
                                             The Honorable Judge Terrence W. Boyl
                                             Chief United States District Judge




CONSENTED TO:

FOR THE PLAINTIFF:                                   FOR THE DEFENDANT:

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